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        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 14-885V
                                      Filed: October 2, 2015
                                           Unpublished

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JOSEPH LEE DURAN,                         *
                                          *
                     Petitioner,          *     Joint Stipulation on Damages;
                                          *     Attorneys’ Fees and Costs;
                                          *     Influenza (“Flu”) Vaccine; Guillain
                                          *     Barre Syndrome (“GBS”); Special
SECRETARY OF HEALTH                       *     Processing Unit (“SPU”)
AND HUMAN SERVICES,                       *
                                          *
                     Respondent.          *
                                          *
****************************
Jeffrey S. Pop, Jeffrey S. Pop, Attorney at Law, Beverly Hills, CA, for petitioner.
Claudia Gangi, U.S. Department of Justice, Washington, DC, for respondent.

 DECISION ON JOINT STIPULATION AWARDING DAMAGES AND ATTORNEYS’
                              FEES AND COSTS 1
Dorsey, Chief Special Master:

        On September 22, 2014, Joseph Lee Duran filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 [the “Vaccine Act” or “Program”]. Petitioner alleges that as the result of an
influenza [“flu”] vaccination on November 12, 2013, he suffered from Guillain Barre
Syndrome [“GBS”]. Petition, at 1; Stipulation, filed October 1, 2015, ¶¶ 2, 4. Petitioner
further alleges that he experienced the residual effects of this injury for more than six
months, and that he has received no prior award or settlement for this injury. Petition, ¶¶
14, 16; Stipulation, ¶ 5. “Respondent denies that the flu vaccine caused petitioner’s
alleged GBS, any other injury, or his current disabilities.” Stipulation, ¶ 6.



1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post it on the United States Court of Federal Claims' website, in accordance with the E-Government
Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Nevertheless, the parties have agreed to settle the case. Stipulation, ¶ 7. On
October 1, 2015, the parties filed a joint stipulation agreeing to settle this case and
describing the settlement terms.

        The Stipulation also includes an award of attorneys’ fees and costs. Stipulation,
¶ 8(c). In accordance with General Order #9, petitioner’s counsel asserts that
petitioner incurred no out-of-pocket expenses. Id.

        Respondent agrees to pay petitioner as follows:


            a. A lump sum of $8,266.77 in the form of a check payable to
               petitioner and Optum, 75 Remittance Drive, Suite 6019, Chicago,
               Illinois 60675-6019. Petitioner agrees to endorse this payment to
               Optum. This amount represents full satisfaction of any right of
               subrogation, assignment, claim, lien, or cause of action the State
               of Illinois may have against any individual as a result of any
               Medicaid payments the State of Illinois has made to or on behalf
               of Joseph Lee Duran from the date of his eligibility for benefits
               through the date of judgement in this case as a result of his alleged
               vaccine-related injury suffered on or about November 20, 2013,
               under Title XIX of the Social Security Act;

            b. A lump sum of $335,000.00 in the form of a check payable to
               petitioner. This amount represents compensation for all
               remaining damages that would be available under 42 U.S.C.
               §300aa-15(a); and

            c. A lump sum of $18,625.16 in the form of a check jointly payable
               to petitioner and petitioner's attorney, Jeffrey S. Pop, for
               attorneys' fees and costs available under 42 U.S.C. § 300aa-
               15(e), and, in compliance with General Order #9, no out-of-pocket
               expenses were incurred by petitioner in proceeding on the petition.

Stipulation, ¶ 8.

       I adopt the parties’ stipulation attached hereto, and award compensation in the
amount and on the terms set forth therein. In the absence of a motion for review filed
pursuant to RCFC Appendix B, the clerk of the court is directed to enter judgment in
accordance with this decision.3

IT IS SO ORDERED.

                                                s/Nora Beth Dorsey
                                                Nora Beth Dorsey
                                                Chief Special Master

3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each filing a notice renouncing
the right to seek review by a United States Court of Federal Claims judge.
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